                                            Case 3:06-cr-00647-CRB Document 521 Filed 08/20/20 Page 1 of 5




                                   1                               IN THE UNITED STATES DISTRICT COURT

                                   2                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4        UNITED STATES OF AMERICA,                        Case No. 06-cr-00647-CRB-1
                                   5                      Plaintiff,
                                                                                             ORDER GRANTING MOTION FOR
                                   6                v.                                       COMPASSIONATE RELEASE
                                   7        JAVIER TAMAYO,
                                   8                      Defendant.

                                   9             Defendant Javier Tamayo has moved for compassionate release under 18 U.S.C.
                                  10   3582(c)(1)(A). See generally Mot. (dkt. 513). The Government does not oppose his request. See
                                  11   Response (dkt. 518) at 1. The Court agrees that Tamayo has satisfied the requirements of §
                                  12   3582(c)(1)(A) and the applicable Sentencing Commission policy statement. Tamayo’s motion for
Northern District of California
 United States District Court




                                  13   compassionate release is therefore granted.1
                                  14   I.        LEGAL STANDARD
                                  15             18 U.S.C. § 3582(c) provides that a “court may not modify a term of imprisonment once it
                                  16   has been imposed except . . . upon motion of the Director of the Bureau of Prisons, or upon motion
                                  17   of the defendant.” A defendant may only bring a § 3582(c) motion after he has “fully exhausted
                                  18   all administrative rights to appeal a failure of the Bureau of Prisons” to bring the motion on his
                                  19   behalf, or after “the lapse of 30 days from the receipt of such a request by the warden of the
                                  20   defendant’s facility, whichever is earlier.” 18 U.S.C. § 3582(c)(1)(A).
                                  21             “[A]fter considering” the sentencing factors from 18 U.S.C. § 3553(a) “to the extent they
                                  22   are applicable,” a court may grant a sentence reduction “if it finds that . . . extraordinary and
                                  23   compelling reasons warrant such a reduction.” Id. § 3582(c)(1)(A)(i). A reduction in sentence
                                  24   under § 3582(c) must be “consistent with applicable policy statements issued by the Sentencing
                                  25   Commission.” Id. § 3582(c)(1)(A); see also Dillon v. United States, 560 U.S. 817, 819 (2010)
                                  26   (holding that the Sentencing Commission policy statement applicable to 18 U.S.C. § 3582(c)(2)
                                  27

                                  28   1
                                           The Court determines that there is no need for oral argument on this matter.
                                             Case 3:06-cr-00647-CRB Document 521 Filed 08/20/20 Page 2 of 5




                                   1   remains mandatory, even after United States v. Booker, 543 U.S. 220 (2005)).

                                   2            The Sentencing Commission has set forth threshold requirements and defined

                                   3   “extraordinary and compelling reasons.” U.S.S.G. § 1B1.13(2). First, the Sentencing

                                   4   Commission requires the Court to find “[t]he defendant is not a danger to the safety of any other

                                   5   person or the community, as provided in 18 U.S.C. § 3142(g).” Id. Second, the application notes

                                   6   to U.S.S.G. § 1B1.13 enumerate five circumstances that establish “extraordinary and compelling

                                   7   reasons” to reduce a defendant’s sentence.

                                   8            The first two relate to the defendant’s medical condition. The “extraordinary and

                                   9   compelling reasons” standard is satisfied if “[t]he defendant is suffering from a terminal illness

                                  10   (i.e., a serious and advanced illness with an end of life trajectory).” U.S.S.G. § 1B1.13 cmt.

                                  11   n.1(A)(i). It is also satisfied by “a serious physical or medical condition, . . . serious functional or

                                  12   cognitive impairment, or . . . deteriorating physical or mental health because of the aging
Northern District of California
 United States District Court




                                  13   process . . . that substantially diminishes the ability of the defendant to provide self-care within the

                                  14   environment of a correctional facility and from which he or she is not expected to recover.” Id.

                                  15   § 1B1.13 cmt. n.1(A)(ii). The defendant’s age qualifies as a third extraordinary and compelling

                                  16   reason if “[t]he defendant (i) is at least 65 years old; (ii) is experiencing a serious deterioration in

                                  17   physical or mental health because of the aging process; and (iii) has served at least 10 years or

                                  18   75 percent of his or her term of imprisonment, whichever is less.” Id. § 1B1.13 cmt. n.1(B).

                                  19   Family circumstances requiring the defendant to care for minor children or a spouse or registered

                                  20   partner are a fourth qualifying reason. Id. § 1B1.13 cmt. n.1(C). Fifth, a catch-all provides for

                                  21   relief if, “[a]s determined by the Director of the Bureau of Prisons, there exists in the defendant’s

                                  22   case an extraordinary and compelling reason other than, or in combination with, the reasons

                                  23   described in subdivisions (A) through (C).” Id. § 1B1.13 cmt. n.1(D).

                                  24   II.      DISCUSSION
                                  25            Tamayo has satisfied these requirements. First, he has exhausted his administrative

                                  26   remedies because more than thirty days have lapsed since he submitted a written request for

                                  27   compassionate release to the warden of his facility. See Mot. at 3–4. Second, the Court has

                                  28   considered the applicable sentencing factors from 18 U.S.C. § 3553(a) and finds that they are
                                                                                           2
                                          Case 3:06-cr-00647-CRB Document 521 Filed 08/20/20 Page 3 of 5




                                   1   consistent with granting Tamayo’s motion for compassionate release. Third, the Court does not

                                   2   believe that Tamayo is a danger to the community given his effort toward self-improvement while

                                   3   incarcerated. Lastly, “extraordinary and compelling reasons,” as defined by the applicable

                                   4   Sentencing Commission policy statement, warrant his release. See 18 U.S.C. § 3582(c)(1)(A)(i).

                                   5          A.      Exhaustion
                                   6          A defendant may bring a § 3582(c) motion after “the lapse of 30 days from the receipt of

                                   7   such a request by the warden of the defendant’s facility.” 18 U.S.C. § 3582(c)(1)(A). Tamayo

                                   8   made two requests for compassionate relief in April. Mot. Ex. A at 3–4. The Government does

                                   9   not dispute that the warden received at least one of them in early May. Mot. at 4; see Response.

                                  10   The Court therefore finds more than thirty days have lapsed since the warden’s receipt of

                                  11   Tamayo’s request. See 18 U.S.C. § 3582(c)(1)(A).

                                  12          B.      Section 3553(a) Factors
Northern District of California
 United States District Court




                                  13          The Court has considered the applicable sentencing factors from 18 U.S.C. § 3553(a) and

                                  14   finds that they are consistent with granting Tamayo’s motion for compassionate release. Tamayo

                                  15   has served approximately 80% of his sentence, and his early release is not inconsistent with “the

                                  16   nature and circumstances of the offense and the history and characteristics of the defendant,”

                                  17   providing just punishment and adequate deterrence, the applicable sentencing range and policy

                                  18   statements of the Sentencing Commission, and the need to avoid unwarranted sentencing

                                  19   disparities. See Order Reducing Sent. (dkt. 455); 18 U.S.C. § 3553(a). As the government

                                  20   concedes, Tamayo “has served an appreciable amount of incarceration for his conspiracy

                                  21   conviction.” Response at 2.

                                  22          C.      Danger to the Community
                                  23          The Court does not believe that Tamayo is a danger to the community. Section 3142(g)

                                  24   lays out four factors for determining dangerousness: (1) “the nature and circumstances of the

                                  25   offense charged,” (2) “the weight of the evidence against the person,” (3) “the history and

                                  26   characteristics of the person,” and (4) “the nature and seriousness of the danger to any person or

                                  27   the community that would be posed by the person’s release.” Id. Tamayo is incarcerated for a

                                  28   non-violent offense. See generally Order Reducing Sent. He has taken advantage of opportunities
                                                                                        3
                                          Case 3:06-cr-00647-CRB Document 521 Filed 08/20/20 Page 4 of 5




                                   1   to better himself by completing a Non-Residential Substance Abuse Counseling program, and

                                   2   courses in parenting, business, anger management, and fiscal responsibility. See McPherson Decl.

                                   3   (dkt. 513) ¶ 10. He poses a low risk of recidivism, and law enforcement believes that he has

                                   4   ended his gang affiliation.” Mot. Ex. A at 4; Response at 2. Although Tamayo does have a

                                   5   criminal history, “the Government notes that these convictions are 17 to 25 years old.” Response

                                   6   at 2. Considering the “characteristics of the person,” “[Tamayo] is not a danger to the safety of . .

                                   7   . the community.” See 18 U.S.C. § 3142(g); U.S.S.G. § 1B1.13.

                                   8          D.      Extraordinary and Compelling Reasons
                                   9          “Extraordinary and compelling reasons,” as defined by the applicable Sentencing

                                  10   Commission policy statement, “warrant . . . a reduction” in Tamayo’s sentence. See 18 U.S.C. §

                                  11   3582(c)(1)(A)(i). The “extraordinary and compelling reasons” standard is satisfied by “a serious

                                  12   physical or medical condition . . . that substantially diminishes the ability of the defendant to
Northern District of California
 United States District Court




                                  13   provide self-care within the environment of a correctional facility and from which he or she is not

                                  14   expected to recover.” U.S.S.G. § 1B1.13 cmt. n.1(A)(ii). Tamayo’s diabetes and chronic kidney

                                  15   disease indisputably put him at greater risk of severe illness or death should he contract COVID-

                                  16   19. Centers for Disease Control, At Risk for Severe Illness (July 30, 2020),

                                  17   https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/groups-at-higher-risk.html.

                                  18   Tamayo is incarcerated at FCI Oakdale, “a relative hotspot of the Covid-19 epidemic within the

                                  19   BOP.” United States v. Barnes, No. CR14-86, 2020 WL 3606354, at *2 (E.D. La. July 2, 2020).

                                  20   Tamayo’s own cellmate has contracted the virus. McPherson Decl. ¶ 14. In the context of the

                                  21   COVID-19 pandemic, Tamayo’s medical conditions “substantially diminish[]” his ability “to

                                  22   provide self-care within the environment of a correctional facility.” U.S.S.G. § 1B1.13 cmt.

                                  23   n.1(A)(ii); see also United States v. Perez, 17 Cr. 513-3 (AT), 2020 WL 1546422, at *4 (S.D.N.Y.

                                  24   Apr. 1, 2020) (“Confined to a small cell where social distancing is impossible, [Tamayo] cannot

                                  25   provide self-care because he cannot protect himself from the spread of a dangerous and highly

                                  26   contagious virus.”).

                                  27   III.   CONCLUSION
                                  28          For the foregoing reasons, Tamayo’s motion for compassionate release is GRANTED.
                                                                                          4
                                           Case 3:06-cr-00647-CRB Document 521 Filed 08/20/20 Page 5 of 5




                                   1   Tamayo’s sentence of imprisonment is modified to time served. The standard and special

                                   2   conditions from Tamayo’s original sentencing order remain in effect. Prior to release, Tamayo

                                   3   shall undergo a 14 day quarantine in BOP custody, which shall commence immediately.2 Finally,

                                   4   the government shall serve a copy of this order on the Warden at FCI Oakdale immediately.

                                   5          IT IS SO ORDERED.
                                   6          Dated: August 20, 2020
                                                                                            CHARLES R. BREYER
                                   7                                                        United States District Judge
                                   8

                                   9

                                  10

                                  11

                                  12
Northern District of California
 United States District Court




                                  13

                                  14

                                  15

                                  16

                                  17

                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27
                                       2
                                  28    If Tamayo alerts the Court that he is already in quarantine, the Court can modify this order
                                       accordingly; he would not need to undergo a new 14-day quarantine.
                                                                                         5
